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                      UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
         Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500
                                                     MOTION INFORMATION STATEMENT

Docket Number(s): ~1~1_-4~2~9,-=3~c~v~___________________--=:.Cap=ti:.::on::J[a.::us::::::e:...:s=ho::::rt~ti:.:.:·t1=e:.Ll_ _ _ _ _ _ __

Motion for:   Leave to Participate in Oral Argument                             Schoenefeld v. State of New York, et als
Set forth below precise, complete statement of relief sought:

Amicus Curiae, The New Jersey State Bar Association, see




MOVING PARTY: Amicus Curiae, The New Jersey State                       Bar    OPPOSING PARTY:          State of New York, et als
         o
        Plaintiff            Defendant 0
         o
        AppellantiPetitioner           0
                             Appellee/Respondent

MOVING AITORNEY: _D_avl_d_B._R_ub_ln.;....Es_q..:..,._ _ _ _ _ _ _ _ _ _ _ OPPOSING AITORNEY: Laura Edinger, Ass't Solicitor General
                                                                      [name of attorney, with firm, address, phone number and e-mail]
~44~B~n~'d:.l:lg~e~S..;;t.~,P~.~O~
                                 . ..:-=;B~0.:.::.x...:4~5...!..;79~_ _ _ _ _ _ _ _ _ Office of the Attorney General. The Caoitol
~M~e~ru=c~he~n~.~N~J~O~8~84~O~_________________ ~A~lb~a~n~y,~N~Y~1~2=22~4~________________________
~(7~3?2)~7~67~-~044~O   ___________________________                           ~(5~1~8)~4~7~4-~2~25~6~   ______________________________
~ru:b~i~m~a~w~@~a=tt~.n~e~t~_________________________ ~la~u~r=a~.e~tl~in~g~e~r~au~ag~.~n~y~.g~o~v~______________________


Court-Judge/Agency appealed from:     U.S. District Court for the Northern District of New York
Please check appropriate boxes:                                                FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                               INJUNCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):            Has request for relief been made below?                DYes DNo
         ElYes   0  No (explain):_ _ _ _ _ _ _ _ _ __                          Has this relief been previously sought in this Court?  DYes D No
                                                                               Requested return date and explanation of emergency:,_____________
Opposing counsel's position on motion:
        CI Unopposed ElOpposed ClDon't Know
Does opposing counsel intend to file a response:
        CI Yes CJ No lZIoon't Know
                                                  Dyes     I!I No   (requests for oral argument will not necessarily be granted)

                                                   [J Yes I!I No    If yes, enter date:,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                                               Has service been effected?     IZI Yes CJ   No [Attach proof of service]



                                                                          ORDER
IT IS HEREBY ORDERED THAT the motion is GRANTED DENIED.
                                                                                   FOR THE COURT:
                                                                                   CATHERINE O'HAGAN WOLFE, Clerk of Court
Dme: _________________________________________                                  By:



Form T-I080
          Case 11-4283, Document 66, 04/30/2012, 594348, Page2 of 3




                          11-4283-cv
        United States Court of Appeals
            For the Second Circuit
EKATERINA SCHOENEFELD,

                                   Plaintiff-Appellee,

                v.

STATE OF NEW YORK, ANDREW M. CUOMO, IN HIS OFFICIAL CAPACITY AS
ATTORNEY GENERAL FOR THE STATE OF NEW YORK, NEW YORK SUPREME
COURT, APPELLATE DIVISION, THIRD JUDICIAL DEPARTMENT, ALL JUSTICES OF
NEW YORK SUPREME COURT, APPELLATE DIVISION, THIRD JUDICIAL
DEPARTMENT, MICHAEL J. NOVACK, IN HIS OFFICIAL CAPACITY AS CLERK OF
NEW YORK SUPREME COURT, APPELLATE DIVISION, THIRD JUDICIAL
DEPARTMENT, COMMITTEE ON PROFESSIONAL STANDARDS OF NEW YORK
SUPREME COURT, APPELLATE DIVISION, THIRD JUDICIAL DEPARTMENTS AND ITS
MEMBERS JOHN STEVEN, CHAIRMAN OF THE COMMITTEE ON PROFESSIONAL
STANDARDS "COPS" OTHER THOMAS C. EMERSON,

                                   Defendants-Appellants.


         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF NEW YORK



     MOTION OF AMICUS CURIAE THE NEW JERSEY STATE BAR ASSOCIATION
               FOR LEAVE TO PARTICIPATE IN ORAL ARGUMENT


                                  DAVID B. RUBIN, ESQ.
                                  DAVID B. RUBIN, p.e.
                                  Attorney for Amicus Curiae
                                       The New Jersey State
                                       Bar Association
                                  (Application for Admission Pending)
                                     44 Bridge Street, P.O. Box 4579
                                     Metuchen, NJ 08840
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                                     E-mail: Rubinlaw@att.net
         Case 11-4283, Document 66, 04/30/2012, 594348, Page3 of 3




     Amicus curiae, The New Jersey State Bar Association ("the

NJSBA"), hereby moves for leave to participate in oral argument.

     In our brief filed with the Court, we represented that

there are many New Jersey-resident attorneys who are admitted to

practice in New York, and have a vital interest in the outcome

of this matter.    Indeed, the plaintiff herself is a New Jersey

attorney admitted to practice in our state, as well as New York.

We also discussed New Jersey's evolving bona fide office rule,

and how our state's experience may inform this Court's judgment

on whether there are less restrictive means of accomplishing the

underlying objectives of New York Judiciary Law Section 470

(McKinney 2010).   We respectfully submit that the NJSBA's

participation in oral argument will offer a helpful perspective

on the issues at hand, and should be permitted.

     Plaintiff has consented to this application.           Counsel for

defendants has not.

                            Respectfully submitted,

                            DAVID B. RUBIN, P.C.
                                     for Amicus Curiae
                                         Jersey State
                                     Associ  .



                          (Application for Admissio~ Pending)
                            44 Bridge Street, P.O. Box 4579
                            Metuchen, NJ 08840
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                            E-mail: Rubinlaw@att.net
Dated: April 30, 2012
